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Agent Matt Bryant (00:00):
But no don't read into all that crap. There's nothing. Mark's deal was his boss' just wanted to know, the
city council just wanted to know, what his status was. He had a subpoena and Jeff and I talked last night
and Jeff may still get one, but they're waiting to see this kind of a chess game. They're just waiting to see
what the defense does, Jeff and I talked that out for quite a while last night, so y'all are in good shape.

Lauren Lowe (00:24):
Okay. I was, just because I know Jeff [crosstalk 00:00:28],

Agent Matt Bryant (00:27):
Yeah.

Lauren Lowe (00:27):
Jeff's been doing everything, [crosstalk 00:00:29] to be right.

Agent Matt Bryant (00:31):
Yeah. Jeff's fine.

Agent Matt Bryant (00:31):
Yeah. Don't freak out because there's, y'all are in good shape.

Lauren Lowe (00:39):
Okay.

Agent Matt Bryant (00:42):
Yeah. Mark's deal didn't have anything to do with y'all. I thought Jeff and I had a real good conversation
yesterday and he kind of understood where we were. And he even said that, you know what the
prosecution was doing, waiting on the defense and stuff made sense.

Agent Matt Bryant (00:58):
So.

Lauren Lowe (01:00):
Yeah.

Agent Matt Bryant (01:00):
That's kind of where we are Mark's deal was just something totally different. They just want to make
sure they understood where Mark was at as far as the case goes.

Lauren Lowe (01:12):
Yeah. I mean Jeff told me about the talk and all, it just still freaks me out and stuff. I'm just concerned
for everybody, this is all Joe's doing and Joe's trying to hurt everybody and it's just causing so much.
[crosstalk 00:01:30] stress and anxiety and.


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Agent Matt Bryant (01:31):
Yeah.

Agent Matt Bryant (01:32):
Well, let it go. Let it go because that deal yesterday. It all worked out. We had that good talk last night.
So Jeff knows. So don't read into anything if you didn't hear it from me, it ain't right so.

Lauren Lowe (01:52):
Okay. Thank you.

Agent Matt Bryant (01:53):
Alrighty.

Lauren Lowe (01:53):
Thank you.

Agent Matt Bryant (01:55):
You bet. Take a deep breath. We'll all get through it.

Lauren Lowe (02:00):
All right. Thank you very much.

Agent Matt Bryant (02:01):
You betcha.

Lauren Lowe (02:04):
Bye Matt.

Agent Matt Bryant (02:04):
Bye bye.




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